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                       ORAL ARGUMENT REQUESTED

                                   No. 18-35218


       In the United States Court of Appeals for the Ninth Circuit


                           Zayn al-Abidin Husayn, et al,
                                                Appellants,
                                         v.

                               James Mitchell, et al,
                                                 Appellees.

                  Appeal from the United States District Court
          for the Eastern District of Washington, No. 2:17-cv-171-JLQ
                The Honorable Justin L. Quackenbush, Presiding



                       APPELLANTS’ OPENING BRIEF


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                        DISCLOSURE STATEMENT

      Appellants Zayn al-Abidin Muhammed Husayn (“Abu Zubaydah”) and

Joseph Margulies are individuals.

                                             /s/ David F. Klein
                                            Attorney for Appellants




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                        STATEMENT OF JURISDICTION
      The district court had jurisdiction pursuant to 28 U.S.C. § 1782. The district

court entered judgment dismissing Appellants’ Application for Discovery on

February 21, 2018. Appellants’ Excerpts of Record at 44–64 (hereafter, “EOR

__”). Appellants lodged a timely notice of appeal on March 15, 2018. EOR 65;

Fed. R. Appellate P. 4(a)(1)(A). This Court has jurisdiction pursuant to 28 U.S.C.

§ 1291.

                          STATEMENT OF THE ISSUES
      Did the district court err in quashing Appellants’ subpoenas in toto based on

the state secrets privilege, where the subpoenas sought at least some information

that is neither protected by the state secrets privilege nor inseparable from

information protected by the privilege?

                           STATEMENT OF THE CASE
      In 2002, Appellant Abu Zubaydah was captured by U.S. agents as an alleged

“enemy combatant” and, while in United States custody, transferred to various CIA

“black sites” in foreign countries, where he was tortured as part of the CIA’s

“Enhanced Interrogation Program.” In support of Abu Zubaydah’s detention, the

CIA took the position that Abu Zubaydah was the “third or fourth man” in al

Qaeda and had been “involved in every major terrorist operation carried out by al

Qaeda,” a position for which a report of the Senate Select Committee on

Intelligence has since determined that there is no basis. EOR 355–56.

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Nevertheless, Abu Zubaydah continues to be held in custody today at the U.S.

detention facility in Guantánamo Bay, Cuba.

      Attorneys for Abu Zubaydah have pursued various legal remedies on his

behalf, including claims against foreign nationals who allegedly participated in or

abetted violations of his human rights while he was incarcerated at CIA-operated

“dark sites” overseas. In 2014, the European Court of Human Rights determined

“beyond a reasonable doubt” that one such dark site was located in Poland. The

court found that the Polish Government had breached its duty to conduct a

thorough investigation of the Polish dark site and of Abu Zubaydah’s confinement

there. The court therefore ordered the Polish Government to pay damages to Abu

Zubaydah, and the Polish Government renewed its criminal investigation

concerning the participation of Polish nationals in possible crimes against him.

That investigation, under the direction of prosecutorial authorities in Krakow,

Poland, is ongoing.

      Polish law authorizes the alleged victim of a crime to submit evidence in aid

of a prosecutorial investigation. Under color of that authority, Polish prosecutors

invited attorneys representing Abu Zubaydah in Poland to submit evidence in aid

of their investigation. However, because of his incarceration and the refusal of

U.S. authorities to make Abu Zubaydah’s own testimony available in a foreign

proceeding, he is unable to participate directly in the Polish prosecutor’s



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investigation. Accordingly, Appellants applied to the district court pursuant to 28

U.S.C. § 1782 for an order permitting Appellants to serve documentary and

testimonial subpoenas on two private United States citizens: appellees James E.

Mitchell and John “Bruce” Jessen. The record shows that that Messrs. Mitchell

and Jessen visited CIA dark sites at the relevant time, and that they have personal

knowledge regarding Abu Zubaydah’s detention and interrogation at those sites.

The district court initially granted Appellants’ application; but after the subpoenas

were served, the Government intervened and moved to quash, claiming that the

subpoenas sought information protected by the state secrets privilege. The district

court granted the Government’s motion and quashed the subpoenas in toto—not

because the court determined that the subpoenas sought exclusively privileged

matter (to the contrary, it determined otherwise, EOR 58)—but because, in the

court’s view, the matter it deemed non-privileged “would not seem of much, if

any, assistance to [the] Polish investigation.” EOR 63.

      The district court erred in granting dispositive relief on state secrets grounds

based on its own view of what would or would not be useful to Polish

investigators. Under the law of this Circuit, a court faced with the proper assertion

of the state secrets privilege should dismiss the action only under narrow

circumstances not present here—i.e., where the matter cannot feasibly proceed

without violating the privilege. The district court acknowledged that some of the



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matter sought by Appellants’ subpoenas was not privileged, but then failed to

proceed as required: by quashing so much of the subpoenas as sought privileged

material and permitting Appellants to discover non-privileged matter. This Court

should reverse and remand with instructions that Appellants be permitted to

execute their subpoenas and discover non-privileged matter, so that they may

submit the resulting evidence to Polish investigators for their consideration.

I.    STATEMENT OF FACTS AND PROCEDURAL HISTORY

      A.     Abu Zubaydah Is Detained and Tortured in Poland; the European
             Court of Human Rights Enters an Adverse Judgment Against the
             Polish Government.
      Abu Zubaydah is a stateless Palestinian held at the U.S. detention facility in

Guantánamo Bay, Cuba. EOR 670. Appellant Joseph Margulies is his counsel.

EOR 669-70. Abu Zubaydah was captured in Pakistan in March 2002 by U.S. and

Pakistani agents and is now being held as an alleged “enemy combatant.” EOR

669–70.

      For several years after his capture, Abu Zubaydah was imprisoned in various

CIA “dark sites” in foreign countries, where he was subjected to so-called

“enhanced interrogation techniques”—torture—including waterboarding,

prolonged confinement in cramped boxes, extended exposure to loud music and

bright lights, starvation, repeated slapping, sleep deprivation, and other serious

abuses. EOR 672–80; see generally Senate Select Committee on Intelligence:



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Committee Study of the Central Intelligence Agency’s Detention and Interrogation

Program Report.1 From December 2002 until September 2003, Abu Zubaydah

was imprisoned in a dark site in Stare Kiejkuty, Poland. EOR 558. A Senate

Select Committee Report regarding the CIA’s interrogation program refers to this

site by the alias “Detention Site Blue.” EOR 710; see also EOR 97–8 (CIA

Torture in Poland: Detention Site Blues, THE ECONOMIST, December 11, 2014);

EOR 100–104 (The Hidden History of the CIA’s Prison in Poland, THE

WASHINGTON POST, January 23, 2014).

      In 2010, attorneys for Abu Zubaydah filed a criminal complaint in Poland

seeking to hold Polish officials accountable for their complicity in Abu Zubaydah’s

unlawful detention and torture. EOR 682–83. However, the case was perpetually

delayed; as of 2013, prosecutors had named no suspects and appeared to make no

progress. EOR 577–78.

      In 2013, attorneys for Abu Zubaydah—including Appellant Joseph

Margulies and his Polish co-counsel, Bartłomiej Jankowski—filed an application




1
   Excerpts of the Committee’s report were attached to Appellants’ Application in
the district court and their response to the United States’ Statement of Interest.
EOR 354–56, 694–716. The entire report may be found at
https://www.amnestyusa.org/pdfs/sscistudy1.pdf (last accessed June 20, 2018), and
is a proper subject of judicial notice. See Fed. R. Evid. 201(b)(2); MGIC Indem.
Corp. v. Weisman, 803 F.2d 500, 504 (9th Cir. 1986) (federal court of appeals may
take judicial notice of matters of public record).


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against the Republic of Poland before the European Court of Human Rights,

alleging that Abu Zubaydah was the victim of crimes on Polish soil, and that

Poland had failed to investigate those crimes properly. EOR 683. In July 2014,

the court ruled on that application, finding “beyond a reasonable doubt” that Abu

Zubaydah was detained and interrogated in a CIA detention facility in Poland from

December 2002 to September 2003 (EOR 558) and that the CIA’s abuse of Abu

Zubaydah amounted to torture (EOR 588–89). The court also found “abundant and

coherent circumstantial evidence” leading to the “inevitab[le]” conclusion that

“Poland knew of the nature and purposes of the CIA’s activities on its territory at

the material time,” and that “Poland cooperated in the preparation and execution of

the CIA rendition, secret detention and interrogation operations on its territory.”

EOR 567–68. In addition, the court determined that the Polish Government’s

investigation into the crimes committed against Abu Zubaydah had been legally

deficient. EOR 581–82. The court also awarded damages to Abu Zubaydah. EOR

607.

       After the court’s judgment became final, the Polish Government renewed its

investigation into the crimes alleged by Abu Zubaydah. That investigation

continues to this day. On repeated occasions, the Polish Government sought

evidence in support of the investigation directly from the United States under the

Mutual Legal Assistance Treaty (“MLAT”) in effect between the United States and



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the Republic of Poland, but on each occasion the United States declined the Polish

Government’s requests. EOR 648.2 Under Polish law, Abu Zubaydah, as the

victim of alleged crimes, has procedural rights in the prosecutorial investigation,

including the right to submit evidence in aid of the investigation through his

attorneys, and the right to appeal any decision to close the investigation without

initiating a prosecution. EOR 72–74. The Polish prosecutor has invited counsel

for Abu Zubaydah to submit evidence in aid of the investigation. Id.

      B.     Appellants File an Application in the District Court Seeking
             Evidence in Aid of the Renewed Polish Investigation.
      On May 5, 2017, Appellants filed in the district court an application for

discovery (“the Application”) pursuant to 28 U.S.C. § 1782 (“Section 1782”).

EOR 801. Section 1782 authorizes a federal district court to order discovery of

documents and testimony for use in a foreign proceeding from any person who

resides or is found in the court’s district:

     The district court of the district in which a person resides or is found may
     order him to give his testimony or statement or to produce a document or
     other thing for use in a proceeding in a foreign or international tribunal,
     including criminal investigations conducted before formal accusation. The
     order may be made … upon the application of any interested person and



2
 Indeed, the Polish Government argued before the European Court of Human Rights
that the United States’ non-cooperation had impeded the investigation. EOR 572
(“The need to obtain information from the US authorities had been, and continued
to be, of crucial importance but the prosecutor’s requests for legal assistance,
including a request for the applicant’s participation in procedural actions, had so far
remained unsuccessful. That made the investigative tasks even more difficult.”).


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    may direct that the testimony or statement be given, or the document or
    other thing be produced, before a person appointed by the court.

28 U.S.C. § 1782(a).

      In the Application, Appellants sought leave to serve subpoenas for

documents and oral testimony on two United States private individuals: James E.

Mitchell and John “Bruce” Jessen. Mitchell and Jessen are former CIA contractors

who, by their own admission in an unrelated civil case, interrogated Abu Zubaydah

at CIA dark sites. Compare EOR 727–732 (alleging Mitchell and Jessen

interrogated Abu Zubaydah at dark sites) with EOR 738–41 (admitting the

allegations in relevant part). As Appellants pointed out below, in another case

before the same district court judge, the Government itself acknowledged Mitchell

and Jessen’s involvement. EOR 171–72 (citing Salim v. Mitchell, No. 2:15-cv-286-

JLQ, ECF No. 85-1 at 2–3). And, according to the Senate Select Committee on

Intelligence’s report on the CIA’s detention and interrogation program, Mitchell

and Jessen visited “Detention Site Blue” at least twice. EOR 710–11 (referring to

Mitchell and Jessen by the code names “SWIGERT” and “DUNBAR”).

      Appellants therefore sought evidence from Mitchell and Jessen in

furtherance of Abu Zubaydah’s right to submit evidence to Polish investigators.

EOR 809–10 (Application). In general terms, the form of the subpoena to produce

documents that Appellants submitted to the district court requested that Mitchell

and Jessen produce any documents in their possession concerning: (a) the


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establishment, operation, conditions and services at the dark site (Request Nos. 1,

2, 5, 6, 8, 9, and 11); (b) Polish officials involved at the dark site (Request Nos. 3,

4); (c) the Appellant himself (Request No. 7); (d) interrogation techniques,

conditions of confinement, and torture (Request No. 10); (e) contracts between

Polish Government officials or private persons residing in Poland and U.S.

personnel for the use of property for the detention facility in Poland (Request No.

11); (f) any exchange of money between Polish officials and those operating the

dark site (Request No. 12); and (g) flights to and from the location of the dark site

during the relevant period (Request No. 13). EOR 826–27. The subpoena ad

testificandum, of course, did not specify topics of deposition, but would

necessarily have been confined to subjects permitted by the district court. EOR

818.

       C.    The Government Opposes the Application Through a “Statement
             of Interest”; the Court Grants the Application.
       On June 30, 2017, the United States submitted a “Statement of Interest,” in

which it urged the district court to deny Appellants’ Application. EOR 645. The

Government conceded that the Application met the minimum statutory

requirements for relief under Section 1782, but argued that the Application should

be denied under the discretionary factors articulated by the Supreme Court in Intel




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Corp. v. AMD, Inc., 542 U.S. 241 (2004).3 EOR 653–54. The Government did not

assert any privileges over the information sought by the subpoenas at that time. 4

      In response, Appellants argued that the Intel factors cut in favor of granting

the Application and that the Government’s objections were premature. EOR 357–

60. The district court agreed with Appellants on both fronts. In a written opinion,

the district court found that because Mitchell and Jessen were not participants in

the Polish investigation, and the United States had denied cooperation to the Polish

Government under the MLAT process, the first Intel factor cut in Appellants’

favor. EOR 341. As to the second Intel factor, the district court concluded that

“[t]he fact that the Polish government has sought information through the treaty

process, and been denied by the United States Government[,] further demonstrates

the Polish government would be receptive to receiving the information,”

supporting Appellants’ position. Id. As to the third Intel factor, the court found




3
  As summarized by this Court, those factors are:
       [1] [W]hether “the person from whom discovery is sought is a participant in
       the foreign proceeding”; [2] “the nature of the foreign tribunal, the character
       of the proceedings underway abroad, and the receptivity of the foreign
       government or the court or agency abroad to U.S. federal-court judicial
       assistance”; [3] whether the request “conceals an attempt to circumvent
       foreign proof-gathering restrictions or other policies of a foreign country or
       the United States”; [4] and whether the request is “unduly intrusive or
       burdensome.”
In re Premises Located at 840 140th Ave. NE, Bellevue, Wash., 634 F.3d 557, 563
(9th Cir. 2011) (quoting Intel, 542 U.S. at 264-65) (brackets inserted).
4
  Mitchell and Jessen were provided notice of the Application, but did not oppose
it. See EOR 46.


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“nothing in the materials … to indicate that the Application seeks to circumvent

Poland’s proof-gathering restrictions or policies of Poland” and noted that the

Polish Government had invited Abu Zubaydah to submit evidence supporting the

investigation. EOR 341–42. But the court observed that, inasmuch as the United

States had denied the Polish Government’s MLAT applications, the application

arguably offended the policies of the United States, and therefore, the court found

that this Intel factor cut both ways. Id. Finally, the court noted Appellants’

arguments under the fourth Intel factor that the burdens on respondents would be

relatively de minimis, especially when balanced against the potential benefit to

Polish prosecutorial authorities. EOR 342. Accordingly, weighing all the Intel

factors, the district court granted the application. EOR 344.

      D.     Appellants Serve the Subpoenas and the Government Moves to
             Quash; the Court Grants the Government’s Motion and Dismisses
             the Application.
      Appellants served the subpoenas on October 4, 2017. EOR 318. The

Government then moved to quash and for a protective order, arguing that (i) the

district court lacked jurisdiction; and (ii) the information sought in the subpoenas

was protected from disclosure by the state secrets privilege, the CIA Act, and the

National Security Act. EOR 182–84. As to the jurisdictional argument, the

Government claimed that the Application constituted an “action against the United

States” regarding the conditions of confinement of an enemy combatant, and was



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therefore prohibited by 28 U.S.C. § 2241(e)(2).5 EOR 186–87. As to the state

secrets argument, the Government claimed that “information confirming or

denying whether the CIA conducted detention and interrogation activities in

Poland, or with the assistance of the Polish Government, could not be disclosed

without risking serious” harm to national security. EOR 184. The Government

attached a declaration by then-CIA Director Michael Pompeo in support of its

claim. EOR 210.

      Appellants countered that the proceeding was neither an “action” nor

“against the United States,” as required to strip the district court of jurisdiction

under 28 U.S.C. § 2241(e)(2). EOR 159–61. As to the assertions of privilege, and

as relevant here, Appellants demonstrated that the subpoenas sought at least some

information that was neither protected by the state secrets privilege nor inseparable

from privileged matter. Appellants pointed out that the Government had permitted

Mitchell and Jessen to testify about certain aspects of the dark sites in other




5
 “Except as provided in paragraphs (2) and (3) of section 1005(e) of the Detainee
Treatment Act of 2005, no court, justice, or judge shall have jurisdiction to hear or
consider any other action against the United States or its agents relating to any
aspect of the detention, transfer, treatment, trial, or conditions of confinement of an
alien who is or was detained by the United States and has been determined by the
United States to have been properly detained as an enemy combatant or is awaiting
such determination.” 28 U.S.C. § 2241(e)(2).




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proceedings, and that, by the Government’s own admission, “much information

about the former detention and interrogation program has been officially

declassified and released to the public.” EOR 169–77. Appellants also invoked

this Court’s holding that, even where state secrets are at issue, “[w]henever

possible, sensitive information must be disentangled from nonsensitive information

to allow for the release of the latter.” EOR 169 (quoting Mohamed v. Jeppesen

Dataplan, 614 F.3d 1070, 1082 (9th Cir. 2010)). Thus, Appellants requested the

district court grant the Government’s motion only to the extent necessary to protect

privileged matter.

      The district court rejected the Government’s jurisdictional argument, holding

that the proceeding was not “against the United States or its agents” as required to

deprive the court of jurisdiction. EOR 47–49. That ruling is not before this Court

on appeal. However, the district court upheld the Government’s assertion of state

secrets privilege as applied to all the discovery Appellants had requested.

Applying the three-part test articulated by this Court in Mohamed v. Jeppesen

Dataplan, the court first determined that the Government had met the procedural

requirements for invoking the privilege. EOR 52–54 (citing Jeppesen, 614 F.3d at

1077).

      Next, the court addressed the Government’s privilege claim. The court

stated that it “[did] not find convincing the [Government’s] claim that merely



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acknowledging, or denying, the fact the CIA was involved with a facility in Poland

poses an exceptionally grave risk to national security.” EOR 58. The court noted

that the presence of a CIA dark site in Poland was a fact that the European Court of

Human Rights already had found “beyond a reasonable doubt”; that Poland’s

President at the time Abu Zubaydah was confined there afterwards confirmed the

site’s existence; that this fact was the subject of multiple governmental

investigations in Poland and in Europe; and that the existence of the Polish dark

site had been widely reported in the media. Id.

      The court speculated, however, that due to the notoriety of these facts,

“compelling Mitchell and Jessen to address the mere fact of whether they were part

of CIA operations conducted in Poland, or whether they interrogated Zubaydah in

Poland, would not seem to aid the Polish investigation.” Id. The court predicted

that for the discovery to be useful, Appellants would need “more detail as to what

occurred and who was involved.” Id. In the court’s view, probing these issues

would go too far: “[Q]uestions about the presence of Polish citizens, their

identifies if known, and their involvement with the Detention and Interrogation

Program legitimately could jeopardize national security.” Id. The court therefore

held that “operational details concerning the specifics of cooperation with a foreign

government, including the roles and identities of foreign individuals, [are] covered

by the claim of state secrets privilege.” EOR 60.



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      Having determined that the state secrets privilege applied to some of the

information sought in the Application, the court turned to the question of how the

matter should proceed. The court acknowledged that “[g]enerally, there are three

circumstances where the Reynolds [state secret] privilege justifies terminating the

case.” EOR 60–61. First, dismissal is warranted “if the plaintiff cannot prove the

prima facie elements of his claim with nonprivileged evidence.” Id. Second, the

case should be dismissed “if the privilege deprives the defendant of information

that would otherwise give the defendant a valid defense to the claim.” Id. And

third, a matter should not proceed where “litigating the case on the merits would

present an unacceptable risk of disclosing state secrets because the privileged and

nonprivileged evidence is ‘inseparable.’” Id.

      The court concluded that “[t]he first two circumstances are not applicable

here, as this is purely a discovery proceeding.” EOR 61. However, the court held

that the third criterion was met, holding that “[m]eaningful discovery cannot

proceed in this matter without disclosing information the Government contends is

subject to the state secrets privilege,” and that “[p]roceeding with discovery would

present an unacceptable risk of disclosing state secrets.” Id.

      The court quashed the subpoenas and dismissed the Application on February

21, 2018. EOR 44. Appellants lodged a timely notice of appeal on March 15,

2018. EOR 65.



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II.    STANDARD OF REVIEW

       This Court “review[s] de novo the interpretation and application of the state

secrets doctrine,” and reviews any underlying factual findings for clear error.

Jeppesen, 614 F.3d at 1077.

III.   SUMMARY OF THE ARGUMENT

       The state secrets doctrine, as applied in this Circuit, requires the court to

salvage the overall proceeding whenever possible. Dispositive relief is permitted

only in those rare instances where the matter cannot feasibly proceed without

violating state secrets. On the undisputed facts before the district court, this was

not such an exceptional case.

       The district court correctly noted that Appellants’ subpoenas sought at least

some information that was not privileged. The court further concluded, again

correctly, that Mitchell and Jessen are not employees of the Government for

purposes of the subpoenas, and that the subpoenas therefore do not target the

Government itself. Additionally, Appellants placed into the record uncontroverted

evidence that the Government has previously permitted Mitchell and Jessen to

testify under oath on the very same topics that the subpoenas are concerned with.

Thus, it was undisputed below that the subpoenas sought information that was

neither privileged itself, nor “inseparable” from privileged matter in a way would




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preclude all inquiry under the state secrets doctrine. This Court’s precedent

therefore required the district court to permit some discovery to proceed.

      Instead of doing so, the district court quashed Appellants’ subpoenas due to

a mistaken belief that discovery could not proceed in this matter unless it would be

“useful” to Polish prosecutors. In so doing, the court not only departed from this

Court’s precedent, but also misconstrued the nature of its duties as arbiter of a

Section 1782 application. The Supreme Court in Intel mandated four factors that a

court should consider in ruling on a Section 1782 application, and the district court

properly granted the Application as a threshold matter after applying those factors.

But after the Government asserted the state secrets privilege, the court went outside

the Intel analysis to apply a factor never endorsed by the Supreme Court: whether

the information sought would be useful to Polish prosecutors. This improper

additional factor conflicts with the rule developed by the federal courts, including

this Court, that a court adjudicating a Section 1782 application should not attempt

to predict the reception that the discovered evidence will receive in the foreign

tribunal for which it is destined. This is because American courts are ill-suited

forums to “delve into the mysteries of foreign law” when considering a request for

judicial assistance under Section 1782.




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      Because neither the state secrets privilege nor Section 1782 provides a valid

basis for quashing Appellants’ subpoenas in toto, this Court should reverse and

remand for further proceedings.

IV.   ARGUMENT

      It is possible to make correct findings of fact and proper legal judgments, yet

come to the wrong result. This is such a case.

      Appellants Abu Zubaydah and Joseph Margulies seek discovery in aid of a

foreign criminal investigation concerning Abu Zubaydah’s torture at a CIA “dark

site” in Poland. The Government opposed this discovery, urging that disclosure of

the cooperation of a foreign country and foreign nationals is a state secret.

      In its ruling, the district court credited Appellants’ argument that to be a

state secret, a fact must first be secret, and—given the findings of the European

Court of Human Rights, the Polish Government’s own investigation, and other

publicly disseminated information—the identity of Poland as host to a “dark site”

is not a secret here. The court further stated that it “[did] not find convincing the

[Government’s] claim that merely acknowledging, or denying, the fact the CIA

was involved with a facility in Poland poses an exceptionally grave risk to national

security.” EOR 58. The court held that Mitchell and Jessen were independent

contractors rather than Government agents, and thus properly ruled that the

Government itself was not a target of the subpoenas. EOR 48–49. And, the court



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properly rejected the Government’s contention that, to exclude from discovery any

information that was privileged, the court lacked authority to limit the subpoenas

rather than quash them wholesale. EOR 60.

      But the district court nevertheless concluded that the requested discovery

should be denied in its entirety. In so doing, it incorrectly characterized the scope

of the discovery Appellants sought, failed to consider trimming the subpoenas to

allow access to non-privileged matter, and improperly considered the supposed

“usefulness” to foreign investigators of the discovery the court might otherwise

allow. These were reversible errors.

      A.     The State Secrets Doctrine Permits Dispositive Relief Only Under
             Narrow Circumstances Not Present Here.
      This case involves application of a draconian evidentiary privilege to the

detriment of transparency, accountability, and justice: the state secrets doctrine.

This Court has warned that invocation of the doctrine “places on the court the

special burden to assure itself that an appropriate balance is struck between

protecting national security matters and preserving an open court system.”

Jeppesen, 614 F.3d at 1081. “But,” this Court has instructed, “the state secrets

doctrine does not represent a surrender of judicial control over access to the

courts.” Id. at 1081-82. Rather, in assessing whether the disclosure of privileged

information would expose matters which, in the interest of national security,




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should not be divulged, courts must view claims of state secrets privilege with a

“skeptical eye” and not accept such claims at “face value.” Id. at 1082.

      Over time, two distinct applications of the state secrets doctrine have

developed:

      (1)    the Totten bar, which altogether “bars adjudication of claims premised

             on state secrets”; and

      (2)    the Reynolds privilege, which excludes only protected evidence, and

             can result in dismissal of a case only under narrowly defined

             circumstances.

Id. at 1077 (citing Totten v. United States, 92 U.S. 105 (1876); United States v.

Reynolds, 345 U.S. 1 (1953)).

      The Totten bar applies only where “the very subject matter of the action” is a

state secret, such as a plaintiff’s claim that itself is predicated on a protected fact.

Totten, 92 U.S. at 105-07.6 The district court properly held that the Totten bar does

not apply here. EOR 51. As the court found (EOR 57), the allegedly privileged

matter in this case relates to a CIA detention and interrogation program that has




6
  In Totten, the Supreme Court upheld dismissal of a Civil War spy’s suit against
the Government because his alleged employment relationship with the Government
was itself a state secret. Id.; accord Tenet v. Doe, 544 U.S. 1 (2005) (similar; Cold
War spies); Weinberger v. Catholic Action of Hawaii/Peace Educ. Project, 454
U.S. 139, 146 (1981) (dismissing claim predicated on whether nuclear weapons are
being stored at a particular location, itself a state secret).


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been public knowledge since at least 2010, when this Court in Jeppesen

specifically declined to hold that “the existence of the [CIA] extraordinary

rendition program is itself a state secret.” 614 F.3d at 1090. And, in the nearly

eight years since Jeppesen was decided, much more about the program has been

publicly disclosed. The Senate Select Committee on Intelligence published

extensive findings regarding the program (EOR 57), and the European Court of

Human Rights determined beyond a reasonable doubt that a CIA black site existed

in Poland (EOR 58). Thus, the district court properly concluded that the “very

subject matter” of Appellants’ application is not a state secret and the Totten bar

does not apply. That holding is not on appeal.

      In contrast, where material is protected by the Reynolds privilege, dismissal

is supposed to be the exception, not the rule. This Court has held that in applying

the Reynolds privilege, “[w]henever possible, sensitive information must be

disentangled from nonsensitive information to allow for the release of the latter.”

Jeppesen, 614 F.3d at 1082. Accordingly, “[t]here are [only] three circumstances

when the Reynolds privilege would justify terminating a case”:

    First, if the plaintiff cannot prove the prima facie elements of her claim
    with nonprivileged evidence, then the court may dismiss her claim as it
    would with any plaintiff who cannot prove her case.

    Second, if the privilege deprives the defendant of information that would
    otherwise give the defendant a valid defense to the claim, then the court
    may grant summary judgment to the defendant.



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     Third … it may be impossible to proceed with the litigation because –
     privileged evidence being inseparable from nonprivileged information –
     litigating the case to a judgment on the merits would present an
     unacceptable risk of disclosing state secrets.

Id. at 1083 (internal quotation marks, alteration, and citation omitted; paragraphing

altered).

      B.     The District Court Erred in Holding that the Reynolds Privilege
             Required Dismissal, Where the Privileged Information at Issue Is
             Not “Inseparable” from Non-Privileged Information.
      The district court correctly held that the first two Reynolds criteria for

dispositive relief are not met here. This matter does not test an affirmative claim

and a defendant’s denial, but is merely an application for discovery. Hence, there

is no risk that Appellants will be deprived of evidence essential to prove prima

facie elements of their claim. Nor is there any risk that a defendant will be

deprived of information necessary to mount a valid defense.

       The district court held, however, that dismissal was required because

“meaningful discovery cannot proceed in this matter” without the disclosure of

privileged material. EOR 61 (emphasis added). In other words, applying the third

Reynolds criterion, the court found it would be “impossible to proceed … because

– privileged evidence being inseparable from nonprivileged information –

litigating the case to a judgment on the merits would present an unacceptable risk

of disclosing state secrets.” Jeppesen, 614 F.3d at 1083. And, the court added to

this criterion a concept of meaningfulness, making itself the arbiter of what


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evidence might be meaningful (or useful) to a Polish prosecutor investigating

potential charges under Polish law.

      The district court did not meaningfully consider trimming the application to

allow discovery of matters that it did not deem privileged. It observed:

      [C]ompelling Mitchell and Jessen to answer as to the mere fact of
      whether operations were conducted in Poland would not seem of
      much, if any, assistance to a Polish investigation. Rather, counsel for
      Petitioner said it would be useful if Mitchell and Jessen could identify
      if there were foreign (Polish) officials at the detention site, and the
      nature of their roles at the site. In regard to these particulars, after
      review, the court defers to the CIA Director’s assertion that the release
      of such information could reasonably pose a grave risk to national
      security.

EOR 63 (emphasis added). In so holding, the court mischaracterized what

Appellants’ counsel described as useful discovery. Appellants’ counsel did not

suggest, as the court indicated, that discovery would not be useful if it did not

include identification of Polish officials at the detention site or the nature of their

roles. Rather, counsel argued:

     Without reference to Poland, Mitchell and Jessen could give the same
     kinds of information they gave in the Salim case.

     They could talk about, in addition, whether they traveled outside the
     United States to visit dark sites in 2002 and 2003.

     Whether they visited more than one dark site in different countries.
     Whether they saw Abu Zubaydah during their visits.

     What were the conditions of his confinement, treatment, medical care.

     Whether they saw foreign nationals during their visits.


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    Frankly, if they did not, and it’s possible, then that might end the
    investigation in Poland.

EOR 28. To be sure, counsel added:

    Now ideally, Your Honor, because we think that these are not state
    secrets at this point in time, we would prefer that Mitchell and Jessen be
    permitted to testify as to the identities of people and where it occurred.
    But the prosecutor already knows where the events occurred and my
    suspicion is he has a good idea, although I’m not privy to the specifics of
    his investigation, of who, you know, the targets are.

EOR 28–29 (emphasis added). This colloquy is a far cry from the district court’s

suggestion that identification of individuals and their roles would be the only

“useful” information within the scope of the subpoenas. To the contrary, as

Appellants’ counsel explained, discovery of the other kinds of information counsel

identified could, for example, supply a narrative that is missing, or complete the

elements of a crime under Polish or European law. EOR 29. Information about

what occurred at the black site and the general conditions of confinement there

could be crucial to the Polish prosecutor in assessing the legal significance and

classification of the facts. It might determine whether particular offenses can be

charged under Polish or European law, such as harassment of a prisoner, unlawful

duress to obtain a statement, illegal imprisonment, failure to report an offence, or

exceeding official authority.

      Notwithstanding Appellants’ unchallenged description of potentially useful

avenues of inquiry, the court effectively substituted its judgment for that of Polish



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investigative authorities and speculated that discovery of admittedly non-privileged

matter, such as the items counsel identified, “would not seem to aid the Polish

investigation.” EOR 58. In other words, the court dismissed the Application, not

because the subpoenas sought exclusively privileged information or matter that

was “inseparable from” state secrets, but because the court drew its own judgment

that the non-privileged matter would not be “meaningful” for purposes of the

Polish investigation. This was error.

             1.     At Most, the Application Sought Both Privileged and Non-
                    Privileged Matter.
      The district court rejected the Government’s contention that “merely

acknowledging, or denying, the fact the CIA was involved with a facility in Poland

poses an exceptionally grave risk to national security.” EOR 58. Thus, the Court

held that this information was not a state secret. Because there is no basis to

conclude that this non-privileged fact is “inseparable” from privileged facts, or that

inquiry into this non-privileged fact “would present an unacceptable risk of

disclosing state secrets,” this alone required the district court to permit at least

some discovery to proceed.

      Moreover, the district court found that Mitchell and Jessen were not agents

of the Government but, at most, independent contractors. EOR 49-50. Absent an

agency relationship, Mitchell and Jessen cannot bind the Government by their

testimony. Thus, even to the extent the Government has an interest in avoiding


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acknowledging its involvement in a facility in Poland (notwithstanding that such

information has been determined by other courts and is in the public domain),

nothing in Mitchell or Jessen’s testimony would constitute such an

acknowledgment by the Government.

      But in addition to the mere fact of CIA involvement at a Polish black site,

Appellants’ subpoenas sought further non-privileged matter that is undisputedly

not inseparable from state secrets. As Appellants pointed out below, the

Government has already permitted both Mitchell and Jessen to testify in another

matter under oath, without objection from the Government, regarding various

aspects of the detention and interrogation program. In the unrelated case of Salim

v. Mitchell, 2:15-cv-286-JLQ (2015) (Quackenbush, J., presiding), Mitchell and

Jessen both testified at deposition on the subject of the detention sites and their

experiences while visiting those sites. See EOR 106–12 (excerpted Jessen

testimony) & 114–149 (excerpted Mitchell testimony). And, relevant excerpts

from that testimony were admitted into the record in this case without objection

from the Government. Id. Where a specific detention site was under discussion in

the Salim depositions, the site’s declassified code name was used (e.g., “Detention

Site Cobalt”) rather than its actual name.




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      Thus, Jessen testified—without objection from the Government—about the

specific time period of his visit to “Detention Site Cobalt”:

     Q. So this is – appears to be an account of an interview that was done with
        you in January 2003. Do you remember being interviewed around that
        time?

     A. This is what I remember: After I left Cobalt, I went to another location to
        work and I couldn’t get home, I didn’t get home until, I don’t know, it
        was before Christmas, but whenever it was.

EOR 109–10 (emphasis added).

      Jessen also testified about the duration of his visit, and the things he saw and

heard while at the site – again without objection from the Government:

     Q. So there was some – some distinction made between him as a MVD
        [Medium Value Detainee] and someone else as an HVD [High Value
        Detainee]?

     A. Eventually in the program it was a very clear distinction. … And with the
        exception of when I was at Cobalt for – I was there for maybe two or
        three weeks, I don’t remember, that’s the only time I saw or worked with
        any HVDs, as they came to be known ….

     Q. And do you happen to know whether, after Mr. Rahman’s death 7 and
        after you raised the – the concerns you raised about the facility at Cobalt,
        whether changes were made at Cobalt?

    A. As I told you, before I left Cobalt, I saw heaters.
EOR 111–12 (emphases added).




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  Former detainee Gul Rahman died of hypothermia while in CIA custody at
Detention Site Cobalt, a fact that formed part of the basis for the plaintiffs’ claims
in Salim. See EOR 719.


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      Likewise, in his deposition in the Salim case, Respondent Mitchell testified

about “coercive techniques” used upon Abu Zubaydah in his presence, “dietary

manipulation,” Abu Zubaydah’s physical condition during interrogation, medical

treatment he received, the effects of coercive techniques upon him, the use of

waterboarding, and the use of enhanced interrogation techniques at dark sites

identified by code name. EOR 114–149.

      The Government was represented at both depositions by multiple attorneys

for the specific purpose of “protect[ing] against the unauthorized disclosure of

classified, protected or privileged Government information.” EOR 107–08. It

follows from the Government’s failure to object that the Government does not

deem privileged the timing of Mitchell’s and Jessen’s visits to detention sites; the

duration of their visits; their general sensory perceptions, as such, while at the

sites; Abu Zubaydah’s conditions of confinement and interrogation; and general

details regarding CIA dark sites identified by code name. It follows a fortiori that

this information is not “inseparable from” privileged matter in a way that would

preclude inquiry under the Reynolds doctrine.

      Accordingly, consistent with the district court’s duty “whenever possible” to

“disentangle” sensitive and nonsensitive information to allow for release of the

latter, Jeppesen, 614 F.3d at 1082, Appellants were entitled to discovery into at

least the same categories information that were disclosed in Salim. Non-privileged



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details about the Polish black site, no matter how seemingly irrelevant in the

district court’s view, might aid Polish prosecutors in bringing criminal actors to

justice. Furthermore, Appellants conceded that if the mere existence of a site in

Poland was deemed a state secret (a notion the district court explicitly rejected,

EOR 58), discovery might proceed in this matter using the code name “Detention

Site Blue,” as was permitted in Salim. EOR 175–76. A close analogy underscores

the potential utility of such discovery: Detention Site Cobalt, discussed in Mr.

Jessen’s deposition in Salim, is widely believed to have been located in

Afghanistan. See EOR 151–54 (How the CIA Tried to “Break” Prisoners in “The

Salt Pit,” NBC NEWS, December 9, 2014). If an Afghan prosecutor were

investigating the death by hypothermia of an individual detained at a CIA site in

Afghanistan, Jessen’s statement that “before I left Cobalt, I saw heaters,” might be

valuable evidence, even if the prosecutor had to confirm independently that the

Afghan site and “Cobalt” were the same location.

      Thus, on the undisputed facts before the district court, Appellants sought at

least some information that was neither privileged nor inextricably intertwined

with privileged matter. Under the Reynolds doctrine, the court was required to

“disentangle” the privileged from the non-privileged matter, and permit release of

the latter. Jeppesen, 614 F.3d at 1082. But instead, the district court imposed an

additional requirement of its own invention, holding that discovery could not



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proceed in this instance because the non-privileged matter “would not seem to aid”

Polish prosecutors. EOR 58.

               2.   The District Court Improperly Inserted Its Own Views of the
                    Utility of Non-Privileged Matter Into Its Consideration of the
                    Motion to Quash.
      Even seemingly innocuous facts may aid Polish prosecutors in filling in gaps

in their understanding. Under Reynolds, Appellants were entitled to seek such

information.

      Although the district court did not explain the genesis of its “usefulness”

requirement, its misapplication of the Reynolds doctrine may have stemmed from a

misunderstanding of Section 1782, under which Appellants’ subpoenas issued.

Section 1782 permits discovery to be taken “for use in a proceeding in a foreign or

international tribunal, including criminal investigations conducted before formal

accusation.” 28 U.S.C. § 1782(a). But to say that discovery is “for use” in a

foreign proceeding is not the same as requiring a judgment that it will be “useful”

to Polish prosecutors.

      As the Second Circuit has warned, district courts should be wary of

“delv[ing] into the mysteries of foreign law” to deny discovery sought under

Section 1782. Euromepa, S.A. v. R. Esmerian, Inc., 51 F.3d 1095, 1096 (2d. Cir.

1995). In Euromepa, the court relied in part on a law review article by Professor

Hans Smit, the chief drafter of Section 1782, who wrote that the drafters



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considered it “wholly inappropriate for an American district court to try to obtain

[a broad understanding of the subtleties of foreign law] for the purpose of honoring

a simple request for assistance.” Id. at 1099 (quoting Hans Smit, Recent

Developments in International Litigation, 35 S. Tex. L.J. 215, 235 (1994)). In fact,

multiple federal courts of appeals, including this Court, have held that district

courts adjudicating Section 1782 applications should not attempt to predict what

reception the evidence discovered will be given in a foreign proceeding. See, e.g.,

In re Letters Rogatory from Tokyo Dist., Tokyo, Japan, 539 F.2d 1216, 1219 (9th

Cir. 1976) (potential inadmissibility of evidence is not grounds for denying Section

1782 application); In re Request For Judicial Assistance from Seoul Dist. Criminal

Court, Seoul, Korea, 555 F.2d 720, 724 (9th Cir. 1977) (same) Brandi-Dohrn v.

IKB Deutsche Industriebank AG, 673 F.3d 76, 81 (2d Cir. 2012) (“[T]he District

Court erred because it misconstrued the ‘for use’ element of section 1782 as

requiring [the applicant] to demonstrate that the discovery he seeks will be

admitted in the [foreign proceeding].”); In re Astra Medica, S.A., 981 F.2d 1, 7 n. 6

(1st Cir.1992) (“The district court need not explore whether the information the

applicants seek is admissible in the foreign jurisdiction or other issues of foreign

law.”), abrogated on other grounds by Intel, 542 U.S. 241. If the very

admissibility of evidence in a foreign proceeding is not a proper consideration for




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the district court, perforce a strategic judgment concerning its “usefulness” in the

foreign proceeding is also improper.

      The Supreme Court’s Intel decision sets out the factors a district court

should consider in assessing whether to order discovery pursuant to Section 1782.

The “usefulness,” relevance, or even the admissibility of evidence are not among

them. Intel specifies only that the district court should consider (1) whether “the

person from whom discovery is sought is a participant in the foreign proceeding”;

(2) “the nature of the foreign tribunal, the character of the proceedings underway

abroad, and the receptivity of the foreign government or the court or agency abroad

to U.S. federal-court judicial assistance”; (3) whether the request “conceals an

attempt to circumvent foreign proof-gathering restrictions or other policies of a

foreign country or the United States”; and (4) whether the request is “unduly

intrusive or burdensome.” Intel, 542 U.S. at 264-65. (Notably, the district court

ruled that Appellants’ application satisfied this test, EOR 344.) The conspicuous

absence of “usefulness in the foreign proceeding” from this list is not surprising.

Even in U.S. practice, discovery is not limited to information that is admissible, but

includes any information that may be relevant. Fed. R. Civ. P. 26(b)(1).

      In Intel, the Supreme Court, too, warned that making discovery under

Section 1782 dependent on an analysis of what is discoverable in a foreign court is

“a slippery business.” 542 U.S. at 263 n.15. The Intel Court rejected the rule,



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previously developed by some federal courts, that evidence must be “discoverable”

in the foreign proceeding in order to be discoverable under Section 1782. Intel,

542 U.S. at 249-61. Thus, there is consistent authority across the federal courts

that the mere act of submitting the evidence to a foreign proceeding is itself the

“use” required by Section 1782—regardless of what “use” it may ultimately be put

to by a foreign tribunal. Here, Appellants will “use” the evidence they discover by

submitting it to Polish prosecutors for consideration. EOR 71–74, 685. Whether

that evidence is useful to Polish prosecutors is a determination that the district

court was neither required nor, indeed, qualified to make.

             3.     The District Court Had Discretion to Reform the Subpoenas
      The Government argued below that no amount of discovery could proceed in

this matter because Petitioners’ document subpoenas, by their terms, sought

information related to “Poland,” and whether a black site existed in Poland is itself

a state secret. EOR 87–88. Setting aside that the district court rejected this aspect

of the state secrets claim (EOR 58), the Government’s argument ignores that under

Section 1782, a district court may narrow discovery requests that are “unduly

intrusive or burdensome.” Intel, 542 U.S. at 265. This discretionary authority

under Section 1782 is entirely consonant with the district court’s duty, under

Jeppesen, to attempt to salvage the overall proceeding when the state secrets

privilege has been asserted. 614 F.3d at 1082; cf. Euromepa, 51 F.3d at 1101



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(district court should address concerns about scope of discovery under Section

1782 by “issuing a closely tailored discovery order rather than by denying relief

outright”).

      The district court acknowledged that it had authority to “modify or limit the

scope of the subpoena[s],” and rejected the Government’s contrary contention.

EOR 60. This makes even more puzzling the court’s failure to narrow the

subpoenas and permit some amount of discovery to proceed. Importantly,

Appellants’ counsel expressed openness to such modification of the subpoenas,

both in briefing and at oral argument. EOR 28 (oral argument), 175–76 (briefing).

While the district court in its opinion worried that it would be “disingenuous” to

use an acknowledged alias for the dark site instead of its geographical name (EOR

61), the use of such an alias would be consistent with the practice adopted for

“Detention Site Cobalt” in the Salim case, supervised by the same district judge. It

would address the Government’s need to avoid acknowledging that the site it

operated was located in a particular country and involved particular individuals.

      Throughout the proceedings below, the Government urged that the notoriety

of Detention Site Blue—which Appellants believe to be in Poland—is not enough

to vitiate its “secrecy.” EOR 199–202. In the face of a binding judgment by the

European Court of Human Rights, an official investigation by prosecutorial

authorities in Poland, and the acknowledgment of a former President of Poland, the



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Government argued that it nevertheless cannot be heard to “officially”

acknowledge this dark site. But as Appellants argued below, if that is a valid basis

for upholding the state secrets privilege, it is not because the “secret” itself remains

intact. It is because the Government cannot be heard to acknowledge it. EOR 17–

18, 25–27. The Government itself has said so. EOR 11.

      It is important, therefore, that Appellants seek the testimony of Mitchell and

Jessen, not the Government. The Government is an intervenor in this action, not

the target of a subpoena. Significantly, the district court found (for other purposes)

that Mitchell and Jessen were independent contractors, and were not agents of the

Government. EOR 48–49. The court earlier made the same finding in Salim v.

Mitchell, No. 15-cv-286-JLQ (ECF No. 135 at 5–7). Mitchell and Jessen therefore

have no authority to bind the Government. Their acknowledgments are not

acknowledgments on behalf of the Government. Their testimony concerning what

the Polish Government has acknowledged and the European Court of Human

Rights has found “beyond a reasonable doubt” does not lift the veil away from

secrets. Nor does it require the Government to confirm them.

      Nevertheless, in consideration of the Government’s attendance at potential

depositions, and to permit the Government to protect its legitimate secrets,

Appellants have been and remain willing for the district court to trim their




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subpoenas, as the statute authorizes it to do and as the case law directs. This Court

should instruct the district court to do so.

                                   CONCLUSION
      There is no legal basis for quashing all discovery in this matter. It is

undisputed that Mitchell and Jessen have information relevant to the Polish

investigation. It is also undisputed that the Government has freely permitted

Mitchell and Jessen to divulge the same type of information in previous discovery

proceedings. There can be no argument what was non-privileged and discoverable

in Salim, is inseparable from privileged information in this case.

      Despite widespread public, judicial, and governmental recognition that Abu

Zubaydah was detained and tortured in Poland, to this day not one individual has

been called to account. The Government’s blanket assertion of privilege over all

discovery in this proceeding, if upheld, will serve no purpose other than to ensure

that this miscarriage of justice continues.

      Accordingly, this Court should reverse and vacate the district court’s order,

and remand with instructions that discovery be permitted to proceed with regard to

non-privileged matters.

Dated: June 25, 2018                           Respectfully submitted,

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                                             /s/ David F. Klein
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                                              /s/ David F. Klein
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STATEMENT REGARDING PRIOR AND RELATED APPEALS
There are no prior or related appeals.




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Signature of Attorney or                                                             Date   6/25/2018
Unrepresented Litigant
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("s/" plus typed name is acceptable for electronically-filed documents)


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APPELLANTS’ OPENING BRIEF with the Clerk of the Court using the CM/ECF

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                                       /s/ David F. Klein
                                       Attorney for Appellants
